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LOUISIANA DEPARTMENT OF INSURANCE

JAMES J. DONELON
COMMISSIONER

January 28 2020

Presiding Judge Paul Byron

United States District Court

Middle District of Florida, Orlando Division
401 West Central Boulevard

Orlando, FL 32801

Re: Cook, et at., v. Government Employees Insurance Company, et al.
Case Number: 6: 17-cv-00891-PGB-LRH

Dear Judge Byron,

By a letter dated December 27, 2019, the law firm Eversheds Sutherland, LLP filed a
notice of a proposed class action settlement in the above-mentioned litigation. The point of
contact for information was Daniel Burke, Executive Vice President of KCC or his assistant
J. Chernila, with a phone number of (415)798-5969.

| write to advise you that this contact information is invalid and rendered this notice
of proposed class action settlement violative of 28 U.S.C. § 1715. My staff and | called the
referenced number on numerous occasions in early January, but never received a reply. On
Friday, January 24, 2020, | was finally able to speak with a person at the referenced
number. To my dismay, | learned that this number is associated with the entity “Computer
Share” which is a shareholder service entity with no relation, whatsoever, to KCC, or
Eversheds Sutherland, LLP, and had no knowledge of this litigation.

From my perspective this appears to be a failure of the attorney's involved in this
litigation to comply with 28 U.S.C. § 1715. At a very minimum, | would think that any contact
information provided should be accurate, such that any questions a recipient of a notice
may have will be answered by someone with knowledge of the litigation. This was not the
case in this litigation. This notice should be reissued so the interested parties can perform
their due diligence. Only then can you. as the presiding judge, be assured that you are
acting properly and in strict compliance with 28 U.S.C. § 1715.

With best wishes and warmest personal regards, | remain,

Verytruly yours,

 

Warren Byrd =
Deputy Commissioner, Property and Casualty
Louisiana Department of Insurance

 

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